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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

PETERSEN ENERGÍA INVERSORA,
S.A.U. and PETERSEN ENERGÍA,
S.A.U.,

                       Plaintiffs,              15 Civ. 2739 (LAP)
-against-

ARGENTINE REPUBLIC and YPF
S.A.,

                       Defendants.

ETON PARK CAPITAL MANAGEMENT,
L.P. et al.,

                       Plaintiffs,
                                                16 Civ. 8569 (LAP)
-against-
                                                        ORDER
ARGENTINE REPUBLIC and YPF
S.A.,

                       Defendants.

LORETTA A. PRESKA, Senior United States District Judge:

    In light of the schedule set forth in most recent

scheduling order (dkt. no. 262 in 16-cv-8569), the status

conferences scheduled for August 31, 2021 (see dkt. no. 231) and

November 10, 2021 (see dkt. no. 253) are hereby adjourned to

December 7, 2021 at 2:00 p.m. EST.

    SO ORDERED.

Dated:       New York, New York
             August 26, 2021

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                               LORETTA A. PRESKA
                               Senior United States District Judge

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